
PER CURIAM.
The defendant appeals his conviction for second degree murder and the denial of his motion for a new trial. Because there is sufficient, independent evidence to support the defendant’s conviction, notwith*429standing the post-trial disclosure that one of the state’s witnesses was rewarded by “Crimestoppers,” we affirm. See Gonzalez v. State, 449 So.2d 882, 888 (Fla. 3d DCA 1984) (“No abuse of discretion where the action of the court is supported by competent and substantial evidence.”). There was no possibility that error, if any, contributed to the conviction. See State v. DiGuilio, 491 So.2d 1129, 1135 (Fla.1986).
Affirmed.
